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           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
ROSS PRY,                     )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion of James

Martin Davis to withdraw as counsel for defendant (Filing No.

642).   The Court finds the motion should be granted.

Accordingly,

           IT IS ORDERED that the motion is granted.               James Martin

Davis is deemed withdrawn as counsel for defendant.

           DATED this 3rd day of April, 2013.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
